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States Bankruptcy Court for the Southern District of Ohio.

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hited States ikruptcy Judge

IT IS SO ORDERED.

 

Dated: October 25, 2019

 

 

UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION AT DAYTON

In re: TAGNETICSINC.,
Case No. 19-30822

Judge Humphrey
Chapter 7

 

 

Order Granting in Part Tagnetics’ Motion to Enforce Settlement Agreement (Doc. 101)
and Ordering Other Matters

 

This matter is before the court on Tagnetics’ Motion to Enforce Settlement Agreement

(doc. 101) and the Response to Motion to Force Settlement (doc. 106) filed by the Petitioning
Creditors.

Pursuant to a prior Order (doc. 99), the court conducted a hearing on the Motion to
Enforce Settlement Agreement on October 18, 2019. The hearing was attended by Stephen
B. Stern and Robert R. Kracht, counsel for Tagnetics Inc., and Petitioning Creditors Jonathan
Hager, Ronald E. Earley, and Kenneth W. Kayser (the “Remaining Petitioning Creditors”).
The court heard testimony from Mr. Stern, Mr. Kayser, Mr. Earley, and Mr. Hager.

EXHIBIT

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Based upon the evidence admitted during the hearing, including the testimony of the
witnesses and the documentary evidence, and the arguments of the parties, and in
accordance with the court’s oral decision rendered telephonically on October 25, 2019 at
11:30 a.m., including its findings of fact and conclusions of law stated therein, Tagnetics’
Motion to Enforce Settlement Agreement (doc. 101) is granted in part. Accordingly, IT 1s
ORDERED that the settlement agreement agreed to by the parties on July 26, 2019, shall be
enforced as follows:

« Payment Schedule

 

 

 

 

 

 

 

 

 

 

 

Payments Timing Earley Kayser Hager

First Within 3 business days of the entry of $30,000 $30,000 $30,000
this order

Second 12 months from entry of this order $30,000 $30,000 £30,000

Third 18 months from entry of this order $30,000 $30,000 $30,000

Balance Upon next liquidity event’ $96,980 $61,582 $58,144

Total $186,980.00 | $151,582.00 | $148,144.00

 

 

e Excepting the payments required by this Order as defining the terms of the
settlement reached by the parties, the parties are mutually released from any past
obligation to each other arising out of any contract or claim of any nature, including
as to any salary, benefits, loans or other similar obligations owed to the Remaining
Petitioning Creditors. This release shall not affect any equity interest, including shares
of stock, held by the Remaining Petitioning Creditors, except that it shall release any
past dividends or other monetary obligations arising of any such equity or stock
ownership.

e Within 7 days after the Remaining Petitioning Creditors’ receipt of the initial $30,000
payments, Tagnetics shall file with the court and serve, by email, upon on each of the
Remaining Petitioning Creditors a notice of payment.

e Upon the filing with the court of the notice of payment, the court will, after a 24-hour
waiting period, dismiss the Involuntary Petition against Tagnetics.

Except as otherwise noted, nothing in this order should be construed as addressing
any equity interest, if any, of the Remaining Petitioning Creditors. It also does not release

 

‘Liquidity eventis defined as follows:

(a) when one person or entity directly or indirectly becomes the beneficial owner of more than 50% of the
outstanding securities of Tagnetics, provided that the one person or entity does not directly or indirectly own
more than 502 of the outstanding securities of Tagnetics on the date that the agreement becomes valid;

(b) the consummation of a merger, sale, or consolidation of Tagnetics with/to another company;

(c) a sale of substantially all of the assets of Tagnetics; or

(cl) completion of a plan to liquidate, dissolve, or wind up Tagneties that was approved by Tagnetics’
shareholders or Board of Directors.
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any obligations owed to or from third parties, including, but not limited to, Compass
Marketing, or any affiliates, subsidiaries, parent corporation, officers, or directors of
Tagnetics, Inc.

The court will issue a separate order regarding Tagnetics’ request for attorney fees
for compensatory damages.

IT 1S SO ORDERED,
Copies to:
All Creditors and Parties in Interest
Douglas S. Draper, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130

Leslie A. Collins, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130
